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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



FEDERAL TRADE COMMISSION,

              Plaintiff,
                                         Case No. 1:20-cv-03590-JEB
         v.

META PLATFORMS, INC.,

              Defendant.




          DECLARATION OF KEVIN J. MILLER IN SUPPORT OF
            META PLATFORMS, INC.’S MOTION TO COMPEL
           ANSWER TO INTERROGATORY NO. 10 REGARDING
                  THE FTC’S MARKET DEFINITION
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